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                                   UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF VIRGINIA

                                                Charlottesville Division



       ELIZABETH SINES, SETH WISPELWEY,
       MARISSA BLAIR, APRIL MUÑIZ,
       MARCUS MARTIN, NATALIE ROMERO,
       CHELSEA ALVARADO, JOHN DOE, and
       THOMAS BAKER,

                                           Plaintiffs,                 Civil Action No. 3:17-cv-00072-NKM

       v.                                                                    JURY TRIAL DEMANDED

       JASON KESSLER, et al.
                                           Defendants.



                         JOINT PROPOSED AMENDED PRETRIAL SCHEDULE
             On September 15, 2020, the Court directed the parties to file a joint proposed schedule

  for certain trial-related deadlines. ECF No. 874. Pursuant to this order, Counsel for Plaintiffs

  submitted a Joint Proposed Amended Pretrial Schedule on September 29, 2020. See ECF No.

  885. On February 3, 2021, the Court continued the trial until October 25, 2021. ECF Nos. 924-

  925. In response to this continuance, the parties 1 propose the following updated schedule:

                                              PROPOSED SCHEDULE

         1. Parties shall exchange witness lists on or before September 7, 2021.

         2. Parties shall exchange exhibit lists on or before September 14, 2021.

         3. Motions in limine shall be filed on or before October 4, 2021.

         4. Deposition designations shall be filed on or before October 4, 2021.




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      Plaintiffs proposed this schedule to all Defendants and received no objection.
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     5. Counter-designations and objections to deposition designations shall be filed on or before
        October 12, 2021.

     6. Challenges to any designations made under the protective order (ECF No. 167) shall be
        filed on or before October 12, 2021.

     7. Proposed jury instructions and special interrogatories shall be filed on or before October
        12, 2021.

     8. Responses in opposition to motions in limine shall be filed on or before October 12,
        2021.

     9. Integrated Pretrial Order, submitted jointly by the parties, shall be filed on or before
        October 18, 2021.

     10. Responses to any challenges to any designations made under the protective order (ECF
         No. 167) shall be filed on or before October 19, 2021.

     11. Objections to counter-designations shall be filed on or before October 19, 2021.

     12. Jury trial to begin on October 25, 2021.


  Dated: June 21, 2021                         Respectfully submitted,



                                                       Michael L. Bloch (pro hac vice)
                                                       Roberta A. Kaplan (pro hac vice)
                                                       Julie E. Fink (pro hac vice)
                                                       Gabrielle E. Tenzer (pro hac vice)
                                                       Yotam Barkai (pro hac vice)
                                                       Emily C. Cole (pro hac vice)
                                                       Alexandra K. Conlon (pro hac vice)
                                                       Jonathan R. Kay (pro hac vice)
                                                       Benjamin D. White (pro hac vice)
                                                       KAPLAN HECKER & FINK LLP
                                                       350 Fifth Avenue, Suite 7110
                                                       New York, NY 10118
                                                       Telephone: (212) 763-0883
                                                       mbloch@kaplanhecker.com
                                                       rkaplan@kaplanhecker.com
                                                       jfink@kaplanhecker.com
                                                       gtenzer@kaplanhecker.com
                                                       ybarkai@kaplanhecker.com
                                                       ecole@kaplanhecker.com
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                                                 aconlon@kaplanhecker.com
                                                 jkay@kaplanhecker.com
                                                 bwhite@kaplanhecker.com
                                                 Counsel for Plaintiffs


  Of Counsel:

   Robert T. Cahill (VSB 38562)                  Karen L. Dunn (pro hac vice)
   COOLEY LLP                                    William A. Isaacson (pro hac vice)
   11951 Freedom Drive, 14th Floor               Jessica Phillips (pro hac vice)
   Reston, VA 20190-5656                         PAUL WEISS RIFKIND WHARTON &
   Telephone: (703) 456-8000                     GARRISON LLP
   Fax: (703) 456-8100                           2001 K Street, NW
   rcahill@cooley.com                            Washington, DC 20006
                                                 Telephone: (202) 223-7300
                                                 Fax: (202) 223-7420
                                                 kdunn@paulweiss.com
                                                 wisaacson@paulweiss.com
                                                 jphillips@paulweiss.com



   Alan Levine (pro hac vice)                    David E. Mills (pro hac vice)
   Philip Bowman (pro hac vice)                  Joshua M. Siegel (VSB 73416)
   COOLEY LLP                                    COOLEY LLP
   1114 Avenue of the Americas, 46th Floor New   1299 Pennsylvania Avenue, NW
   York, NY 10036                                Suite 700
   Telephone: (212) 479-6260                     Washington, DC 20004
   Fax: (212) 479-6275                           Telephone: (202) 842-7800
   alevine@cooley.com                            Fax: (202) 842-7899
   pbowman@cooley.com                            dmills@cooley.com
                                                 jsiegel@cooley.com

   J. Benjamin Rottenborn (VSB 84796)
   WOODS ROGERS PLC
   10 South Jefferson St., Suite 1400
   Roanoke, VA 24011
   Telephone: (540) 983-7600
   Fax: (540) 983-7711
   brottenborn@woodsrogers.com

                                                 Counsel for Plaintiffs
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on June 21, 2021, I filed the foregoing with the Clerk of Court through
  the CM/ECF system, which will send a notice of electronic filing to:

   Elmer Woodard                                    David L. Campbell
   5661 US Hwy 29                                   Justin Saunders Gravatt
   Blairs, VA 24527                                 Duane, Hauck, Davis & Gravatt, P.C.
   isuecrooks@comcast.net                           100 West Franklin Street, Suite 100
                                                    Richmond, VA 23220
   James E. Kolenich                                dcampbell@dhdglaw.com
   Kolenich Law Office                              jgravatt@dhdglaw.com
   9435 Waterstone Blvd. #140
   Cincinnati, OH 45249                             Counsel for Defendant James A. Fields, Jr.
   jek318@gmail.com

   Counsel for Defendants Jason Kessler, Nathan
   Damigo, Identity Europa, Inc. (Identity
   Evropa), Matthew Parrott, and Traditionalist
   Worker Party

   Bryan Jones                                      William Edward ReBrook, IV
   106 W. South St., Suite 211                      The ReBrook Law Office
   Charlottesville, VA 22902                        6013 Clerkenwell Court
   bryan@bjoneslegal.com                            Burke, VA 22015
                                                    edward@rebrooklaw.com
   Counsel for Defendants Michael Hill, Michael
   Tubbs, and League of the South               Counsel for Defendants Jeff Schoep, National
                                                Socialist Movement, and Nationalist Front
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                                    CERTIFICATE OF SERVICE

        I hereby certify that on June 21, 2021, I filed the foregoing with the Clerk of Court through
  the CM/ECF system, which will send a notice of electronic filing to:

   Richard Spencer                                  Christopher Cantwell
   richardbspencer@icloud.com                       Christopher Cantwell 00991-509
   richardbspencer@gmail.com                        USP Marion, 4500 Prison Rd.
                                                    U.S. Penitentiary
                                                    P.O. Box 2000
                                                    Marion, IL 62959
   Vanguard America                                 Robert “Azzmador” Ray
   c/o Dillon Hopper                                azzmador@gmail.com
   dillon_hopper@protonmail.com

   Elliott Kline a/k/a Eli Mosley                   Matthew Heimbach
   eli.f.mosley@gmail.com                           matthew.w.heimbach@gmail.com
   deplorabletruth@gmail.com
   eli.r.kline@gmail.com
                                                    _______________________
                                                    Michael L. Bloch (pro hac vice)
                                                    KAPLAN HECKER & FINK LLP

                                                    Counsel for Plaintiffs
